Case 7:19-cv-00772-JLK-RSB Document 6 Filed 01/16/20 Page 1 of 1  Pageid#:
                                                                    : OFFICE20
                                                               CLERK'       U.& Dlsl COURT
                                                                                       AT DM VILLE,VA
                      IN THE IJM TED STATESDISTRIPT COURT                                  FILED
                     FO R TH E W ESTERN DISTW CT OF W RGING
                                  ROANOKE DIW SION                                     JAd j6 2222
                                                                                 JUL! C DUDLEY.CLE
 JA COB ALAN SH OUSE,                           CivilActionNo 7:19-:v-00772 sg: AEpuw
                                                                .                              cuE-
      Plaintiff,
                                                M EM O R AND U M O PIM O N
 V.
                                                By: Jackson L.K iser
 SH AYA H AW K INS,d aI,                        Senior U nited StatesD istrictJudge
        Defendantts),
       Plaintiff,proceedingproK,fledaci
                        .             vilrightscomplaint,pursllnntto42U.S.C.j1983.
By orderenteredNovember19,2019,thecourtdirected plaintiffto subm itwithin 20 daysf'
                                                                                  rom

the date oftheorderan inm ateaccountform ,and acertified copy ofplaintiffstrustfund account

statem entforthe six-m onth period im mediately precedingthefiling ofthe com plaint,obtained

from theappropriateprison ox cialofeach prison atwhichplaintiffisorwasconfmed during

thatsix-m onth pedod.On December 13,2019,thecourtreceived an inm ateaccotmtform signed

by thetrustoffk erhowever,thesix-m onth statem entswerenotincluded.On Decem ber13,

2019,the courtgaveplaintiffonelastopportunity to curethe detk ienciesby submittingthe

required six-month statements.Plaintiffwasadvised thata failm eto comply would resultin

dismissalofthisactionwithoutprejudice.
       M oreth% 20 dayshaveelapsed,and plaintiffhasfailed to comply with thedescribed

conditions.Accordingly,thecourtdismissestheactionwithoutprejudiceandstrikesthecmse
f'
 rom theactivedocketofthecourt.Plaintiffmay refilethe claim sin aseparateaction once

plaintiffisprepared to comply with thenoted conditions. The Clerk isdirected to senda copy

oftllisM emorandum Opinion and accom panying Orderto plaintiff.

       ENTER:This $61 dayofJanuary,2020                                           #'


                                                     rli U nited SO tesD istdctJudge
